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Chad Palmer                                                                       6/11/2020
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  1                      UNITED STATES DISTRICT COURT
  2                        SOUTHERN DISTRICT OF OHIO
  3                               EASTERN DIVISION
  4                         CASE NUMBER: 19-CV-04209
  5

  6    DAVID FORTNEY AND ELI TRIPLETT,                           PLAINTIFFS
  7    INDIVIDUALLY AND ON BEHALF OF
  8    ALL THOSE SIMILARLY SITUATED
  9            vs.
 10    WALMART, INC.                                             DEFENDANT
 11

 12                                  * * * * * * * *
 13    DEPONENT:                     CHAD PALMER
 14    DATE:                         JUNE 11, 2020
 15                                  * * * * * * * *
 16

 17    Lois A. Roell,
 18    Registered Merit Reporter
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  1            Q        A couple of times over the time you
  2    worked there?
  3            A        While he was the manager, yeah.
  4            Q        And other than Jason, did any of the
  5    other service managers ever come up to you during
  6    your meal breaks?
  7            A        No.    Matt always talked to me, but Matt
  8    was always eating in there usually around the same
  9    time because we always closed shop together.
 10            Q        So you said a couple times during the
 11    time Jason was your manager he asked you to come
 12    back to work early from your lunch break because
 13    things were busy in the shop; is that what you're
 14    saying?
 15            A        Yeah.
 16            Q        Now, when you did that, did you go to the
 17    computer, you logged back in if Jason wanted you to
 18    come back to work early from lunch on those couple
 19    of occasions?
 20            A        I did, but it was on a rush to get back
 21    in.     That's after -- that's when I was faster and it
 22    doesn't work sometimes, but Jason, he was getting
 23    rushed and other people were always -- other
 24    co-workers in the department would always -- he was
 25    the one pushing and want me to.                       Matt ordered my

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  1    lunch, but yeah.
  2            Q        Well, again --
  3            A        So I'd come back, but it would be right
  4    at the moment, so they had me quickly go in and
  5    cover something, and then when I got access and I
  6    got in, because I tried to get over there or get
  7    rushed over there.
  8            Q        Let me just go back over that.                  First of
  9    all, you said it only happened a couple of times,
 10    right?
 11            A        Yeah.     And then -- well, since -- yes.
 12            Q        And I just want to understand.                  So on the
 13    couple of times when it happened, Jason would want
 14    you to come back to work early, and you knew you
 15    were supposed to clock back in at that point, right?
 16            A        Yeah, but at the moment I wasn't able to
 17    get at something.
 18            Q        You're saying you weren't able to get to
 19    the computer at that point?
 20            A        Yes, yes, I wasn't -- I'd get around and
 21    I'd get into it within a few minutes after I was
 22    already over there working at those times.                         And then
 23    there was -- go ahead.
 24            Q        Have you finished your answer?
 25            A        Yes.

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  1            Q        Okay.     I can't always tell.              I apologize
  2    again if I interrupt.              So are you saying that you
  3    sometimes did work for a few minutes before you were
  4    able to go back to the computer and clock in again?
  5            A        Yeah.
  6            Q        But did you know that Walmart expected
  7    you to clock in again before you started work?
  8            A        Yes.     So I'd try to reset it and put my
  9    time in when I came back around.
 10            Q        Did you know that there was a process if
 11    something went wrong with clocking in, there was a
 12    process to --
 13            A        Yes.
 14            Q        -- a time adjustment to the company if --
 15            A        Yes, and you would have to state a
 16    reason.
 17            Q        So if the reason is you couldn't clock in
 18    because you couldn't get to a computer, did you know
 19    you could put in for that time?
 20            A        Yes.
 21            Q        So on the couple of times when Jason
 22    asked you to come back to work early and you
 23    couldn't get to the computer right away to clock
 24    back in, did you submit a time adjustment?
 25            A        Yes.

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  1            Q        And after you submitted the time
  2    adjustment, did you get paid?
  3            A        Those two moments, yeah.
  4            Q        Okay.     So the only two times when Jason
  5    interrupted your lunch hour and asked you to come
  6    back to work early, you got paid for those minutes,
  7    correct?
  8            A        Correct.
  9            Q        Okay.     And so other than the assistant
 10    manager or the store manager asking you how busy the
 11    shop was while the two of you were having lunch
 12    together or other than the couple of occasions where
 13    Jason asked you to come back to work early from
 14    lunch, were you ever interrupted in your lunch hour
 15    by any manager on any other occasion?
 16            A        Yeah, I was because I'd have to work all
 17    the way on Sundays, no one wanted to work, and it
 18    would go late, and I usually had to work by myself
 19    for the whole second shift.                  And I'd even contact
 20    the store manager, I'd contact the assistant
 21    managers telling them, you know, I need some help at
 22    the moment, and I'd work all the way up to five and
 23    a half hours until I was locked out of the system.
 24    And then I'd have to close the shop down, and then
 25    I'd clock -- yeah, I'd clock out.                     And I would put

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